 

re ALVAREZ-GLASMAN & COLVIN
ATTORNEYS AT LAW

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l NOTE: CHANGES MADE BY THE COURT
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3 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
10 |] DOMINIC ARCHIBALD, AN U.S.D.C. Case Number:
INDIVIDUAL AND AS SUCESSOR ) 5:16-cv-01128 AB (SPx)
11 || IN INTEREST TO NATHANAEL H.
12 PICKETT Il, DECEASED. (Assigned to the Honorable District Court
Judge André Birotte Jr.)
13 Plaintiff,
PROPOSED ORDER RE
14 Vv. EFENDANTS COUNTY OF SAN
15 AND WILLIAM KELSEY’S MOTION
COUNTY OF SAN BERNARDINO ,
KYLE HAYDEN WOODS and DOES) TO DISMISS PLAINTIFF’S FIRST
16 |} 1-10, INCLUSIVE. AMENDED COMPLAINT; OR IN THE
ALTERNATIVE, MOTION TO
17 Defendants. COMPEL JOINDER
18
DATE: May 8, 2017
19 TIME: 10:00 a.m.
20 CTRM: 7B
31 Action Filed: June 1, 2016
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24 . . . .
35 The Motion to Dismiss Plaintiff’s First Amended Complaint; or in the
%6 Alternative, Motion to Compel Joinder came for hearing before this Court on May
37 8, 2017. Roger A. Colvin, Esq., appeared on behalf of Defendants County of San
38 Bernardino, Kyle H. Woods and William Kelsey; and counsel appearing on behalf
of Plaintiff Dominic Archibald. Robert Conaway, counsel for Nathaneal Pickett
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1 || (Mr. Pickett’), appeared telephonically. After considering the moving,

2 || opposition, and reply papers, arguments of counsel, and all other matters presented

3 || to the Court, the Court GRANTS in part and DENIES in part the motion as

4 || follows.

5 The Court DENIES the motion to dismiss because the indispensable party

6 || Mr. Pickett can be joined.

7 The Court GRANTS the motion to join Mr. Pickett, as a Plaintiff, to

8 || Plaintiff Dominic Archibald’s Complaint against Defendants County of San

9 || Bernardino, Kyle H. Woods, and William Kelsey. No party disputes that Mr.
10 || Pickett is an heir and successor in interest to decedent, his son Nathanael Pickett II,
11 |} and that under the one action rule and California’s statutes governing wrongful
12 || death actions (Cal. Code. Civ. Proc. 377.60-62), Mr. Pickett’s joinder is required.
13 || See Corder v. Corder, 41 Cal. 4th 644, 652 (2007) (“While each heir designated in
14 || section 377.60 has a personal and separate wrongful death cause of action, the
15 |} actions are deemed joint, single and indivisible and must be joined together in one
16 || suit.”). Mr. Pickett is therefore an indispensable party under Fed. R. Civ. Proc.
17 || 19(a). No party disagrees with this analysis, no prejudice or other obstacles weigh
18 || against joinder, and at oral argument Mr. Pickett’s counsel stated that Mr. Pickett
19 || was willing to join this case as a Plaintiff. The Court will therefore grant the
20 || motion to join Mr. Pickett to Plaintiff's action.
21 The Court DENIES the motion as to the decedent’s half-siblings that
22 || County seeks to join. Under the applicable California statutes as applied to this
23 ||case, only decedent’s parents have standing to bring survival or wrongful death
24 |}claims. Decedent’s half-siblings are not heirs or successors in interest, so they
25 || have no standing so they are not indispensable parties. See Cal. Code Civ. Proc. §
26 || 377.60, 377.30, 377.10, 377.11; Cal. Probate Code § 6402. The motion is
27 || therefore denied as to the half-siblings.
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] IT IS HEREBY ORDERED:
2 That Nathanael Pickett is JOINED in this case as a Plaintiff, to Plaintiff
3 || Dominic Archibald’s Complaint, which shall be the operative Complaint.
4 The Clerk of Court is hereby ORDERED to serve this Order on Mr.
5 || Pickett’s counsel Robert Conaway at the following address:
6
7 Robert D. Conaway
8 12127 Mall Blvd.
9 Ste A-363
10 Victorville, CA 92392
1] email: rdconaway@gmail.com
12
13 Counsel for Plaintiff Dominic Archibald is also ORDERED to serve this
14 || order on Mr. Conaway.
15
16 IT IS SO ORDERED.

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18 A
19 || Dated: May 8, 2017 W

 

Honrable André Birotte Jr.
20 United States District Court Judge
21 Central District of California

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